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                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 Allied Metal Company, an Illinois              )
 corporation,                                   )
                                                )
                Plaintiff/Counter-Defendant,    ) Case No. 1:21-cv-01629
                                                )
                v.                              ) Honorable Jorge L. Alonso
                                                )
 Elkem Materials Inc., a Pennsylvania           )
 corporation,                                   )
                                                )
                Defendant/Counter-Plaintiff.    )

            ELKEM’S MOTION FOR ENTRY OF JUDGMENT ON VERDICT

       Defendant/Counter-Plaintiff Elkem Materials Inc. (“Elkem”), by and through the

undersigned counsel, pursuant to Rules 54 and 58 of the Federal Rules of Civil Procedure, and

hereby respectfully moves this Court to enter judgment on the verdict in favor of Defendant Elkem

and against Plaintiff/Counter-Defendant, Allied Metal Company (“Allied”), including expenses,

costs, and prejudgment interest as agreed by the parties. USCS Fed Rules Civ Proc R 58. USCS

Fed Rules Civ Proc R 54. In support of this Motion, Elkem states as follows:

       1.      On June 26, 2025, a jury verdict was returned in favor of Elkem on Allied’s

Complaint against Elkem and Elkem’s Counterclaim against Allied.

       2.      The contract between the Parties at issue in this lawsuit provides that the prevailing

party is entitled to recover i) its expenses and costs, including reasonable attorneys’ fees (“Fees

and Costs”), and ii) pre-judgment interest (“Interest”).

       3.      In accordance with Local Rule 54.3 of the United States District Court for the

Northern District of Illinois, the parties, through counsel, have conferred on the issue of Fees and

Costs, and Interest. N.D. Ill. Loc., R 54.3.



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       4.      The Parties have reached an agreement as to the amounts due to Elkem, totaling

$1,030,227.96, which includes the jury award on Elkem's counterclaim, Fees and Costs, and

Interest, itemized as follows: $516,805.22 on Elkem’s Counterclaim; $437,849.06 in Fees and

Costs; and $75,573.68 in Interest, which is memorialized in the Agreement Pursuant to Local Rule

54.3, copy of which is attached hereto as Exhibit A.

       5.      Based on the agreement of the Parties, this Motion is unopposed.

       WHEREFORE, Elkem respectfully requests that this Honorable Court enter judgment on

the verdict in favor of Elkem and against Allied in the total amount of $1,030,227.96, and grant

such further relief as this Court deems just and proper.

                                              Respectfully submitted,

                                              ELKEM MATERIALS, INC.,
                                              a Pennsylvania corporation

                                              By: /s/ Kevin A. Sterling____________
                                              One of its Attorneys

Kevin A. Sterling
kevin@thesterlinglaw.com
Blake K. Walsh
blake@thesterlinglaw.com
The Sterling Law Office LLC
112 South Sangamon Street, Suite 101
Chicago, Illinois 60654
Ph: (312) 670-9744

Laura Newcomer Cohen
laura.cohen@esbrook.com
Esbrook, P.C.
321 North Clark Street, Suite 1930
Chicago, Illinois 60654
Ph: (312) 242-3128




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                                                                   EXHIBIT
                                                                       A
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